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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              :
                                                      :
                                                      :
              v.                                      :       No. 21-CR-561 (RJL)
                                                      :
                                                      :
MILIQUE N. WILSON                                     :
                                                      :
                                                      :
                    Defendant.                        :


                     GOVERNMENT=S MEMORANDUM IN SUPPORT
                           OF PRE-TRIAL DETENTION


       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this memorandum in support of its oral motion that

defendant Milique N. Wilson (hereinafter “the Defendant” or “WILSON”) be detained pending

trial pursuant to 18 U.S.C. §3142(f)(1)(E) and 18 U.S.C. §3142(d)(1)(A)(iii). The government

respectfully requests that the following points and authorities, as well as any other facts, arguments

and authorities presented at the detention hearing, be considered in the Court’s determination

regarding pre-trial detention.

                                    I.      Procedural History

       On August 28, 2021, the defendant was charged by Complaint in D.C. Superior Court Case

No, 2021-CF2-004914 with one count of Unlawful Possession of a Firearm (Prior Conviction) in

violation of 22 D.C. Code § 4503(a)(1). A Superior Court Judge ordered WILSON be detained

pending trial pursuant to 23 D.C. Code § 1322(b) on August 28, 2021.

       On September 7, 2021, the defendant was Indicted by a Grand Jury sitting in the District

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Court for the District of Columbia with one count of Unlawful Possession of Ammunition by a

Person Convicted of a Crime Punishable by Imprisonment for a Term Exceeding One Year in

violation of 18 U.S.C. § 922(g)(1), and one count of Unlawful Possession of a Firearm (Prior

Conviction) in violation of 22 D.C. Code § 4503(a)(1). See 21-cr-561.

       At the detention hearing, the government intends to supplement the instant detention

memorandum with argument to support the defendant’s detention pending trial pursuant to the

above-referenced provisions of the federal bail statute, and any additional provisions that may

apply upon review of the Pretrial Services Agency (PSA) report.

                             II.    Legal Authority and Argument

       The government must establish by clear and convincing evidence that a defendant is a

danger to the community. United States v. Peralta, 849 F.2d 625, 626 (D.C. Cir. 1988). For a

detention decision based upon risk of flight, the government only need prove by a preponderance

of the evidence that there are no conditions or combinations of conditions that will assure the

defendant’s appearance as required. United States v. Vortis, 785 F.2d 327, 328-29 (D.C. Cir. 1986).

Furthermore, at a detention hearing, the government may present evidence by way of a proffer.

United States v. Smith, 79 F.3d 1208, 1209-10 (D.C. Cir. 1996).

       There are four factors under Section 3142(g) that the Court should analyze in determining

whether to detain the defendant pending trial: (1) the nature and circumstances of the offense

charged; (2) the weight of the evidence against the defendant; (3) his history and characteristics;

and (4) the nature and seriousness of the danger to any person or the community that would be

posed by his release. See 18 U.S.C.§ 3142(g). A review and understanding of the facts and

circumstances in this case require the Court to conclude that there is no condition or combination


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of conditions that would assure the safety of the community. See 18 U.S.C. § 3142(e)(1).

                   III.    Nature and Circumstances of the Offenses Charged

        At approximately 1020 hours, on August 27, 2021, officers of the Metropolitan Police

Department (MPD) were flagged down at 1401 Maryland Ave. NE, by an individual (RP-1) who

reported that another individual, later identified by MPD as Milique WILSON, had exited a

greenish-blue colored Dodge Caravan bearing a D.C. registration “GK9543” and brandished a

firearm near the corner of 15th St and Independence Ave SE.

        MPD Officers located the vehicle matching the above-mentioned description and stopped

the vehicle in the drive-thru of the Chick-Fil-A, 1401 Maryland Ave. NE, Washington D.C.

When MPD made contact with the driver, the defendant, they asked whether there was a firearm

in the vehicle; the defendant replied that there was a firearm in the vehicle and a firearm was

recovered from the defendant’s waistband. The defendant also indicated that he did not have a

license for the firearm and carried it for protection.

        The defendant was in possession of an unserialized 9mm firearm, magazine, and

seventeen (17) total rounds of ammunition.         In total, nine (9) rounds of WIN 9mm Luger

ammunition, five (5) rounds of SIG 9mm Luger ammunition, and three (3) rounds of HORNADY

9mm Luger, were recovered by the District of Columbia Department of Forensic Sciences (DFS).

       As discussed further below, the defendant is currently on supervision in Maryland for case

number CT110205X. In that case, he was convicted of a crime punishable by more than one year

of imprisonment and was therefore prohibited from possessing a firearm or ammunition.

        Furthermore, earlier this Summer, in July, while in possession of a firearm, the defendant

was involved in an altercation which resulted in the shooting death of an individual. To be clear,


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the defendant has NOT been charged in that event and the U.S. Attorney’s Office has declined

homicide charges at this time. However, the fact remains that the defendant has recently possessed

multiple firearms—including an unserialized or “ghost” gun—while legally prohibited from doing

so and while on supervision for a case involving firearms. The continued possession of firearms

shows that the defendant will continue to possess firearms and will not abide by any conditions of

release on which the Court may impose. As such, the nature and circumstances of the alleged

offenses weigh heavily in favor of detention.

                     IV.     Weight of the Evidence Against the Defendant

       The second factor to be considered, the weight of the evidence, also clearly weighs in favor

of detention. As stated above, a firearm was recovered from the defendant’s waistband shortly

after RP-1 reported seeing it there. In addition, the defendant admitted on scene that he was

carrying the firearm and that the firearm was being carried for his protection.

                        V.      Defendant’s History and Characteristics

       The defendant’s history and characteristics also favor pretrial detention in this case. The

defendant has repeatedly possessed firearms—all while on release—in a case involving firearms.

       Critically, he is currently on supervision in Prince George’s County, MD, for an Assault

(1st Degree) and Use of a Handgun/Crime of Violence in case number CT110205X. As noted by

PSA, the defendant is non-compliant due to the instant case and the allegation of threats in May

2021 lodged against the defendant.

       In short, at the age of thirty-six, the defendant has two previous convictions, multiple prior

arrests, and two prior bench warrants. Notably, the defendant’s criminal record indicates that his

crimes are increasing in severity, violence, and frequency. After receiving a sentence of


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approximately 6 months for a 2004 robbery (18 of 24 months suspended), in 2011, the defendant

was convicted of a violence offense involving a firearm. After being sentenced to 15 years

confinement (6 years suspended), the defendant has now engaged in several additional crimes

involving firearms. Indeed, in this summer alone, while (or shortly thereafter) being investigated

for a homicide involving a firearm, the defendant possessed another ghost gun, which he

brandished at another driver on a Saturday morning with the defendant’s family in the car.

                                VI.    Danger to the Community

       The fourth factor, the nature and seriousness of the danger to any person or the community

posed by the Defendant’s release, unquestionably weighs in favor of detention. The escalation this

summer alone from alleged threats in May 2021, to the possession and use of a firearm in July

2021, to an arrest with a “ghost” gun in August 2021, show the defendant has demonstrated an

absolute and blatant disregard for the conditions of his supervision and is a danger to the

community.

       His willingness to engage in continued criminal conduct involving firearms shows his

dangerousness to the community 1 Further, the continued disregard for his conditions of

supervision severely limits any options for conditions that would protect the safety of the




1 Judges in this District have repeatedly held that unlawfully carrying a concealed or loaded
firearm in public constitutes a danger to the community. See, e.g, Judge Lamberth’s recent decision
in U.S. v Gassaway, 21-cr-550, at ECF No. 9 (citing United States v. Cole, 459 F. Supp. 3d 116,
120 (D.D.C. 2020) (noting that a loaded firearm “has the great potential to escalate into violence,”
particularly when defendant’s prior convictions indicate a predilection for violence); United States
v. Riggins, 456 F. Supp. 3d 138, 144 (D.D.C. 2020) (“[T]he possession of a firearm, especially
while seemingly on a drug such as PCP, presents a serious danger to the community.”); United
States v. Howard, No. 20-mj-181 (BAH), 2020 WL 5642288, at *3 (D.D.C. Sept. 21, 2020)
(“Illegally possessing a concealed firearm in public where other people are congregated, as alleged,
poses an inherent risk of danger to the community.”)).
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community. In sum, the defendant’s continued possession of firearms while on release show that

there are no conditions or combination of conditions short of pre-trial detention that would protect

the safety of the community.

                                        VII.    Conclusion

       The government respectfully requests that the Court issue an Order granting its motion that

the defendant be held without bond pending trial.

                                                     Respectfully submitted,


                                                     CHANNING D. PHILLIPS
                                                     ACTING UNITED STATES ATTORNEY

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